       Case 1:17-cv-00151-BLW Document 315 Filed 10/21/21 Page 1 of 2




Lori Rifkin, Esq. (CA # 244081)              Craig Durham (ISB # 6428)
(pro hac vice)                               Deborah Ferguson (ISB # 5333)
Rifkin Law Office                            FERGUSON DURHAM, PLLC
3630 High St., # 18197                       223 N. 6th Street, Suite 325
Oakland, CA 94619                            Boise, ID 83702
Telephone: (510) 414-4132                    Telephone: 208-345-5183
Email: lrifkin@rifkinlawoffice.com           Facsimile: 208-908-8663
                                             Emails: chd@fergusondurham.com
Dan Stormer, Esq. (CA # 101967)                      daf@fergusondurham.com
(pro hac vice)
Shaleen Shanbhag, Esq. (CA # 301047)         Amy Whelan, Esq. (CA # 215675)
(pro hac vice)                               (pro hac vice)
HADSELL STORMER RENICK & DAI LLP             Julie Wilensky, Esq. (CA # 271765)
128 N. Fair Oaks Avenue                      (pro hac vice)
Pasadena, California 91103                   National Center for Lesbian Rights
Telephone: (626) 585-9600                    870 Market Street, Suite 370
Facsimile: (626) 577-7079                    San Francisco, CA 94102
Emails: dstormer@hadsellstormer.com          Telephone: 415-365-1338
        sshanbhag@hadsellstormer.com         Facsimile: 415-392-8442
                                             Email: AWhelan@NCLRights.org
                                                    jwilensky@NCLRights.org
Attorneys for Plaintiff



                           UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


ADREE EDMO (a/k/a MASON EDMO),               Case No.: 1:17-cv-00151-BLW

                   Plaintiff,
                                              PLAINTIFF’S NOTICE OF MOTION AND
       v.                                     MOTION FOR ATTORNEYS’ FEES AND
                                              COSTS
IDAHO DEPARTMENT OF CORRECTION,
ET AL.

                  Defendants.




PLAINTIFF’S MOTION FOR ATTORNEYS’
FEES AND COSTS
         Case 1:17-cv-00151-BLW Document 315 Filed 10/21/21 Page 2 of 2


       COMES NOW the Plaintiff, by and through her attorneys, and respectfully moves this

Court, pursuant to Rule 54 of the Federal Rules of Civil Procedure and District of Idaho Local

Civil Rules 54.1 and 54.2 to order Defendants to pay attorneys’ fees and costs to the Plaintiff in

the above-entitled action. This Motion is made under the authority of 42 U.S.C. § 1988.

       This Motion is based upon the record herein, and the memorandum and declarations filed

in support.

       Respectfully Submitted this 21st day of October, 2021.

                                             FERGUSON DURHAM
                                             HADSELL STORMER RENICK & DAI LLP
                                             NATIONAL CENTER FOR LESBIAN RIGHTS
                                             RIFKIN LAW OFFICE

                                             By:    /s/ Amy Whelan
                                                    Amy Whelan
                                                    Attorneys for Plaintiff




PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES AND COSTS- 1
